                 Case 2:15-cv-00799-KJM-DB Document 307 Filed 05/17/23 Page 1 of 5


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     18    Attorneys for Plaintiffs and Relators and the Certified Classes

     19                                   UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF CALIFORNIA
     20                                       SACRAMENTO DIVISION

     21    UNITED STATES OF AMERICA, ex rel.                     Case No.: 2:15-CV-00799-KJM-DB
     22    DENIKA TERRY, ROY HUSKEY III, and
           TAMERA LIVINGSTON, and each of them for               CLASS ACTION
     23    themselves individually, and for all other persons
           similarly situated and on behalf of the UNITED        STIPULATION AND ORDER TO AMEND
     24    STATES OF AMERICA                                     THE SCHEDULING ORDER AND RESET
                                                                 EXPERT DISCOVERY DEADLINES
     25           Plaintiffs/Relators,
                                                                 Before: Hon. Kimberley J. Mueller
     26    vs.
                                                                 Trial Date:   None Set
     27    WASATCH ADVANTAGE GROUP, LLC,
           WASATCH PROPERTY MANAGEMENT, INC.,
     28    WASATCH POOL HOLDINGS, LLC,
           CHESAPEAKE APARTMENT HOLDINGS, LLC,

                      STIP. AND ORDER TO RESET EXPERT DISCOVERY DEADLINES – CASE NO. 2:15-CV-00799 KJM-DB
871388.2
              Case 2:15-cv-00799-KJM-DB Document 307 Filed 05/17/23 Page 2 of 5


       1   LOGAN PARK APARTMENTS, LLC, LOGAN
           PARK APARTMENTS, LP, ASPEN PARK
       2   HOLDINGS, LLC, BELLWOOD JERRON
           HOLDINGS, LLC, BELLWOOD JERRON
       3   APARTMENTS, LP, BENT TREE
           APARTMENTS, LLC, CALIFORNIA PLACE
       4   APARTMENTS, LLC, CAMELOT LAKES
           HOLDINGS, LLC, CANYON CLUB HOLDINGS,
       5   LLC, COURTYARD AT CENTRAL PARK
           APARTMENTS, LLC, CREEKSIDE HOLDINGS,
       6   LTD, HAYWARD SENIOR APARTMENTS, LP,
           HERITAGE PARK APARTMENTS, LP, OAK
       7   VALLEY APARTMENTS, LLC, OAK VALLEY
           HOLDINGS, LP, PEPPERTREE APARTMENT
       8   HOLDINGS, LP, PIEDMONT APARTMENTS,
           LP, POINT NATOMAS APARTMENTS, LLC,
       9   POINT NATOMAS APARTMENTS, LP, RIVER
           OAKS HOLDINGS, LLC, SHADOW WAY
     10    APARTMENTS, LP, SPRING VILLA
           APARTMENTS, LP, SUN VALLEY HOLDINGS,
     11    LTD, VILLAGE GROVE APARTMENTS, LP,
           WASATCH QUAIL RUN GP, LLC, WASATCH
     12    PREMIER PROPERTIES, LLC, WASATCH
           POOL HOLDINGS III, LLC,
     13    and DOES 1-4,
     14         Defendants.
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                   STIP. AND ORDER TO RESET EXPERT DISCOVERY DEADLINES – CASE NO. 2:15-CV-00799 KJM-DB
871388.2
                Case 2:15-cv-00799-KJM-DB Document 307 Filed 05/17/23 Page 3 of 5


       1                   STIPULATION AND ORDER TO AMEND THE SCHEDULING
                             ORDER AND RESET EXPERT DISCOVERY DEADLINES
       2

       3          Plaintiffs and Relators Denika Terry, Roy Huskey III, and Tamera Livingston as court

       4   appointed representatives for the certified classes of California tenants and as relators for the United

       5   States and Defendants Wasatch Property Management, et al. (together, the Parties), by and through

       6   their undersigned counsel, stipulate as follows:

       7          WHEREAS, under Federal Rule of Civil Procedure 16(b)(4), the Court has broad discretion

       8   to modify a pretrial scheduling order on a showing of “good cause,” focusing on the diligence of the

       9   parties and the reasons for the modification;

     10           WHEREAS, the scheduling order entered by the Court on December 2, 2022 (ECF No. 279)

     11    provided for the following deadlines:

     12               Production of supplemental data shall be completed by April 21, 2023;

     13               Fact discovery shall be completed by May 12, 2023;

     14               Expert disclosures shall be completed by May 19, 2023;

     15               Rebuttal expert witnesses shall be exchanged by June 23, 2023;

     16               All expert discovery shall be completed by July 14, 2023; and

     17               Final Pretrial Conference is set for September 22, 2023 at 10:00 a.m.

     18           WHEREAS, on March 29, 2023, Magistrate Judge Barnes issued an order continuing the

     19    deadline for the completion of fact discovery to June 2, 2023 (ECF No. 295);

     20           WHEREAS, the parties have completed production of supplemental data and are diligently

     21    completing fact discovery;

     22           WHEREAS, the deadline for completing expert disclosures is now two weeks before the

     23    deadline for completing fact discovery;

     24           WHEREAS, extending the deadline for completing expert disclosures will not unduly delay

     25    the litigation or prejudice any party and will not affect the currently scheduled Final Pretrial

     26    Conference;

     27           THEREFORE, the Parties jointly stipulate and request that the Court order that the current

     28    case schedule (ECF Nos. 279, 295) be modified to reflect the following deadlines:

                                                               1
                      STIP. AND ORDER TO RESET EXPERT DISCOVERY DEADLINES – CASE NO. 2:15-CV-00799 KJM-DB
871388.2
               Case 2:15-cv-00799-KJM-DB Document 307 Filed 05/17/23 Page 4 of 5


       1             Fact discovery shall be completed by June 2, 2023;
       2             Expert disclosures shall be completed by May 19, 2023; July 11, 2023;
       3             Rebuttal expert witnesses shall be exchanged by June 23, 2023; August 14, 2023;
       4             All expert discovery shall be completed by July 14, 2023; September 1, 2023; and
       5             Final Pretrial Conference is set for September 22, 2023, at 10:00 a.m.
       6

       7   Dated: May 9, 2023                            Respectfully submitted,
       8                                                 GOLDSTEIN, BORGEN, DARDARIAN & HO
       9
                                                         /s/ Anne P. Bellows
     10                                                  Anne P. Bellows
     11                                                  Attorneys for Plaintiffs and Relators
                                                         and the Certified Classes
     12

     13    Dated: May 9, 2023                            Respectfully submitted,
     14                                                  LEWIS BRISBOIS BISGAARD & SMITH LLP
     15
                                                         /s/ Ryan Matthews (as authorized 5/9/23)
     16                                                  Ryan Matthews
     17                                                  Attorneys for Defendants
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                     STIP. AND ORDER TO RESET EXPERT DISCOVERY DEADLINES – CASE NO. 2:15-CV-00799 KJM-DB
871388.2
                Case 2:15-cv-00799-KJM-DB Document 307 Filed 05/17/23 Page 5 of 5


       1                                                  ORDER

       2          Good cause appearing, the Court hereby ORDERS that the scheduling order be modified to

       3   reflect the following deadlines:

       4              Fact discovery shall be completed by June 2, 2023;
       5              Expert disclosures shall be completed by July 11, 2023;
       6              Rebuttal expert witnesses shall be exchanged by August 14, 2023;
       7              All expert discovery shall be completed by September 1, 2023; and
       8              Final Pretrial Conference is set for September 22, 2023, at 10:00 a.m.
       9          SO ORDERED.

     10    DATED: May 16, 2023.

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                      STIP. AND ORDER TO RESET EXPERT DISCOVERY DEADLINES – CASE NO. 2:15-CV-00799 KJM-DB
871388.2
